Case 2:05-Cr-20087-BBD Document 47 Filed 09/02/05 Page 1 of 2 Page|D 41
LEWEWMMPH_DB.
IN THE UNITED STATES DISTRICT COURT H /Z?/
FOR THE WESTERN DISTRICT OF TENNESSEE _
wEsTERN DIVISION GSSEP“Z AH\l-BU

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UNITED STATES OF AMERICA ) Q'?
)
Plaintiff, )
)
VS. ) CR. NO. 05-20087~D

EVA J. BRASKER,
RAFAEL FUENTES )

Defendant. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY
AND SETTING

 

This cause was set for a Suppression Hearing and Report Date
on September 2, 2005 at 2:00 p.m. The defendant moved the Court
for a continuance to allow for additional time to prepare.

The Court granted the motion and hereby resets the trial date
to November 7, 2005 with a Suppression Hearing and Report Date on
Tuesda.yc October 18l 2005 at 2:00 P.M., in Courtroom 3, 9th Floor
of the Federal Building, Memphis, TN.

The period from September 16, 2005 through November 18, 2005
is excludable under 18 U.S.C. § 3161(h)(l)(F) because the ends of
justice served in allowing for disposition of the pending motion
outweigh the need for a speedy trial.

IT IS SO ORDERED this ZM day of September, 2005.

 

I E B. DONALD
UNI ED STATES DISTRICT JUDGE

Th!s document entered on the docketziea in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:05-CR-20087 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

